                                                    Certified to be a true and
                                                    correct copy of the original.
                                                    Charles R. Diard, Jr.
                                                    U.S. District Court
                                                    Southern District of Alabama
                                                By:   Edwina Crawford
                                                                           Deputy Clerk
                                                Date:   March 01, 2021
                      21-mj-29




             P. Bradley Murray U.S.   Digitally signed by P. Bradley Murray U.S. Magistrate Judge
                                      DN: cn=P. Bradley Murray U.S. Magistrate Judge, o=Southern
                                      District of Alabama, ou=United States District Court,
03/01/2021   Magistrate Judge         email=efile_murray@alsd.uscourts.gov, c=US
                                      Date: 2021.03.01 14:31:27 -06'00'
individuals, and the $11,415.71 currently held in Green Dot Corporation account number

            1501 in the name of                   constitutes, or is traceable to, proceeds of these

offenses.

                                  PROPERTY TO BE SEIZED

       5.       This application is presented in support of a seizure warrant for the following

property:

             a. All funds up to $11,415.71 held in Green Dot Corporation account
                number           1501 in the name of           .

                       GROUNDS FOR SEIZURE AND FORFEITURE

       6.       The Funds are subject to seizure and forfeiture, because they constitute, or are

traceable to, proceeds of the wire fraud scheme set out below. Accordingly, these Funds are

subject to civil forfeiture under 18 U.S.C. § 981(a)(1)(c), and criminal forfeiture under 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461.

       7.       As all of the Funds are subject to forfeiture, they are also subject to seizure under

both the civil seizure statute, 18 U.S.C. § 981(b), as well as the criminal seizure statutes, 18 U.S.C.

§ 982(b)(1) and 21 U.S.C. § 853(f).

       8.       Despite the fact that Green Dot Corporation is headquartered in the Central District

of California, this Court has authority to issue this seizure warrant. See 18 U.S.C. § 981(b)(3)

(civil authority); 21 U.S.C. § 853(l) (criminal authority).

                                       PROBABLE CAUSE

       9.       Beginning on an unknown date prior to May 12, 2020,

                 (hereinafter “ECSO”) computer server was compromised. The ECSO server was

repeatedly accessed, without authorization, by computers whose internet protocol (hereinafter

“IP”) addresses resolved back to computers outside the United States. After unlawfully intruding



                                                  2
 THE ABOVE AGENT ATTESTED TO
 THIS AFFIDAVIT PURSUANT TO
 FED. R. CRIM. P. 4.1(b)(2)(B) THIS
   1st
 _______ DAY OF MARCH, 2021.


P. Bradley Murray      Digitally signed by P. Bradley Murray U.S. Magistrate Judge
                       DN: cn=P. Bradley Murray U.S. Magistrate Judge,
                       o=Southern District of Alabama, ou=United States District
 ___________________________________
U.S. Magistrate Judge  Court, email=efile_murray@alsd.uscourts.gov, c=US
                       Date: 2021.03.01 14:37:37 -06'00'

 HON. P. BRADLEY MURRAY
 UNITED STATES MAGISTRATE




                                                     5
                                       ATTACHMENT A

    The property to be seized is identified as the following:

-   All funds up to $11,415.71 held in Green Dot Corporation account number
             1501 in the name of              .




                                             6
